Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 1 of 169 Page ID #:978



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        State of California and Brian Leyva
   8
   9                       UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12
       ALEXANDER HERD,                            Case No. 5:17-cv-02545-AB-SP
  13
                             Plaintiff, DECLARATION OF DONNA M.
  14                                    DEAN IN SUPPORT OF
                v.                      DEFENDANTS’ NOTICE OF
  15                                    MOTION AND MOTION FOR
                                        SUMMARY JUDGMENT, OR, IN
  16   COUNTY OF SAN BERNARDINO;        THE ALTERNATIVE, PARTIAL
       CITY OF FONTANA; STATE OF        SUMMARY JUDGMENT
  17   CALIFORNIA; BRIAN LEYVA;
       JASON PERNICIARO; and DOES 1- Date:         November 8, 2019
  18   10,                              Time:      10:00 a.m.
                                        Courtroom: 7B
  19                       Defendants.
                                        Judge:     Hon. André Birotte, Jr.
  20
                                                  Trial Date: February 18, 2020
  21                                              Action Filed:   December 27, 2017
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Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 2 of 169 Page ID #:979



   1                        DECLARATION OF DONNA M. DEAN
   2           I, Donna M. Dean, declare as follows:
   3        1.    I am a duly appointed Deputy Attorney General and am assigned to
   4   represent defendants in the above-captioned action. I make this declaration in
   5   support of the Motion for Summary Judgment, or, in the Alternative, Partial
   6   Summary Judgment filed concurrently herewith. The facts set forth herein are
   7   within my personal knowledge.
   8        2.     Attached hereto as Exhibit 1 are true and correct copies of relevant
   9   excerpts from the deposition of Brian Leyva taken on May 27, 2019.
  10        3.     Attached hereto as Exhibit 2 are true and correct copies of relevant
  11   excerpts from the deposition of Jason Perniciaro taken on July 26, 2019.
  12        4.     Attached hereto as Exhibit 3 are true and correct copies of relevant
  13   excerpts from the transcription of the interview of Alexander Herd on May 31,
  14   2017.
  15        5.    Attached hereto as Exhibit 4 are true and correct copies of relevant
  16   excerpts from the deposition of Alexander Herd taken on August 13, 2019.
  17        6.    Attached hereto as Exhibit 5 are true and correct copies of relevant
  18   excerpts from the deposition of Kristen Steward taken on August 15, 2019.
  19           I declare under penalty of perjury under the laws of the United States of
  20   America that the foregoing is true and correct.
  21           Executed on October 4, 2019, at Los Angeles, California.
  22
                                                       /s/ Donna M. Dean
  23                                                     Donna M. Dean
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Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 3 of 169 Page ID #:980
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 4 of 169 Page ID #:981
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 5 of 169 Page ID #:982
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 6 of 169 Page ID #:983
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 7 of 169 Page ID #:984
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 8 of 169 Page ID #:985
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 9 of 169 Page ID #:986
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 10 of 169 Page ID #:987
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 11 of 169 Page ID #:988
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 12 of 169 Page ID #:989
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 13 of 169 Page ID #:990
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 14 of 169 Page ID #:991
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 15 of 169 Page ID #:992
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 16 of 169 Page ID #:993
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 17 of 169 Page ID #:994
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 18 of 169 Page ID #:995
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 19 of 169 Page ID #:996
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 20 of 169 Page ID #:997
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 21 of 169 Page ID #:998
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 22 of 169 Page ID #:999
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 23 of 169 Page ID
                                  #:1000
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 24 of 169 Page ID
                                  #:1001
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 25 of 169 Page ID
                                  #:1002
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 26 of 169 Page ID
                                  #:1003
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 27 of 169 Page ID
                                  #:1004
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 28 of 169 Page ID
                                  #:1005
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 29 of 169 Page ID
                                  #:1006
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 30 of 169 Page ID
                                  #:1007
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 31 of 169 Page ID
                                  #:1008
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 32 of 169 Page ID
                                  #:1009
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 33 of 169 Page ID
                                  #:1010
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 34 of 169 Page ID
                                  #:1011
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 35 of 169 Page ID
                                  #:1012
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 36 of 169 Page ID
                                  #:1013
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 37 of 169 Page ID
                                  #:1014
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 38 of 169 Page ID
                                  #:1015
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 39 of 169 Page ID
                                  #:1016
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 40 of 169 Page ID
                                  #:1017
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 41 of 169 Page ID
                                  #:1018
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 42 of 169 Page ID
                                  #:1019
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 43 of 169 Page ID
                                  #:1020
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 44 of 169 Page ID
                                  #:1021
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 45 of 169 Page ID
                                  #:1022
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 46 of 169 Page ID
                                  #:1023
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 47 of 169 Page ID
                                  #:1024
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 48 of 169 Page ID
                                  #:1025
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 49 of 169 Page ID
                                  #:1026
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 50 of 169 Page ID
                                  #:1027
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 51 of 169 Page ID
                                  #:1028
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 52 of 169 Page ID
                                  #:1029
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 53 of 169 Page ID
                                  #:1030
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 54 of 169 Page ID
                                  #:1031
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 55 of 169 Page ID
                                  #:1032
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 56 of 169 Page ID
                                  #:1033
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 57 of 169 Page ID
                                  #:1034
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 58 of 169 Page ID
                                  #:1035
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 59 of 169 Page ID
                                  #:1036
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 60 of 169 Page ID
                                  #:1037
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 61 of 169 Page ID
                                  #:1038
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 62 of 169 Page ID
                                  #:1039
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 63 of 169 Page ID
                                  #:1040
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 64 of 169 Page ID
                                  #:1041
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 65 of 169 Page ID
                                  #:1042
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 66 of 169 Page ID
                                  #:1043
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 67 of 169 Page ID
                                  #:1044
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 68 of 169 Page ID
                                  #:1045
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 69 of 169 Page ID
                                  #:1046
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 70 of 169 Page ID
                                  #:1047
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 71 of 169 Page ID
                                  #:1048
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 72 of 169 Page ID
                                  #:1049
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 73 of 169 Page ID
                                  #:1050
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 74 of 169 Page ID
                                  #:1051
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 75 of 169 Page ID
                                  #:1052
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 76 of 169 Page ID
                                  #:1053
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 77 of 169 Page ID
                                  #:1054
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 78 of 169 Page ID
                                  #:1055
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 79 of 169 Page ID
                                  #:1056
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 80 of 169 Page ID
                                  #:1057
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 81 of 169 Page ID
                                  #:1058
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 82 of 169 Page ID
                                  #:1059
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 83 of 169 Page ID
                                  #:1060
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 84 of 169 Page ID
                                  #:1061
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 85 of 169 Page ID
                                  #:1062
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 86 of 169 Page ID
                                  #:1063
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 87 of 169 Page ID
                                  #:1064
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 88 of 169 Page ID
                                  #:1065
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 89 of 169 Page ID
                                  #:1066
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 90 of 169 Page ID
                                  #:1067
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 91 of 169 Page ID
                                  #:1068
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 92 of 169 Page ID
                                  #:1069
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 93 of 169 Page ID
                                  #:1070
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 94 of 169 Page ID
                                  #:1071
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 95 of 169 Page ID
                                  #:1072
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 96 of 169 Page ID
                                  #:1073
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 97 of 169 Page ID
                                  #:1074
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 98 of 169 Page ID
                                  #:1075
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 99 of 169 Page ID
                                  #:1076
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 100 of 169 Page ID
                                   #:1077
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 101 of 169 Page ID
                                   #:1078
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 102 of 169 Page ID
                                   #:1079
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 103 of 169 Page ID
                                   #:1080
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 104 of 169 Page ID
                                   #:1081
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 105 of 169 Page ID
                                   #:1082
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 106 of 169 Page ID
                                   #:1083
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 107 of 169 Page ID
                                   #:1084
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 108 of 169 Page ID
                                   #:1085
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 109 of 169 Page ID
                                   #:1086
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 110 of 169 Page ID
                                   #:1087
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 111 of 169 Page ID
                                   #:1088
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 112 of 169 Page ID
                                   #:1089
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 113 of 169 Page ID
                                   #:1090
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 114 of 169 Page ID
                                   #:1091
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 115 of 169 Page ID
                                   #:1092
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 116 of 169 Page ID
                                   #:1093
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 117 of 169 Page ID
                                   #:1094
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 118 of 169 Page ID
                                   #:1095
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 119 of 169 Page ID
                                   #:1096
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 120 of 169 Page ID
                                   #:1097
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 121 of 169 Page ID
                                   #:1098
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 122 of 169 Page ID
                                   #:1099
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 123 of 169 Page ID
                                   #:1100
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 124 of 169 Page ID
                                   #:1101
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 125 of 169 Page ID
                                   #:1102
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 126 of 169 Page ID
                                   #:1103
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 127 of 169 Page ID
                                   #:1104
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 128 of 169 Page ID
                                   #:1105
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 129 of 169 Page ID
                                   #:1106
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 130 of 169 Page ID
                                   #:1107
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 131 of 169 Page ID
                                   #:1108
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 132 of 169 Page ID
                                   #:1109
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 133 of 169 Page ID
                                   #:1110
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 134 of 169 Page ID
                                   #:1111
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 135 of 169 Page ID
                                   #:1112
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 136 of 169 Page ID
                                   #:1113
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 137 of 169 Page ID
                                   #:1114
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 138 of 169 Page ID
                                   #:1115
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 139 of 169 Page ID
                                   #:1116
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 140 of 169 Page ID
                                   #:1117
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 141 of 169 Page ID
                                   #:1118
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 142 of 169 Page ID
                                   #:1119
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 143 of 169 Page ID
                                   #:1120
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 144 of 169 Page ID
                                   #:1121
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 145 of 169 Page ID
                                   #:1122
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 146 of 169 Page ID
                                   #:1123
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 147 of 169 Page ID
                                   #:1124
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 148 of 169 Page ID
                                   #:1125
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 149 of 169 Page ID
                                   #:1126
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 150 of 169 Page ID
                                   #:1127
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 151 of 169 Page ID
                                   #:1128
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 152 of 169 Page ID
                                   #:1129
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 153 of 169 Page ID
                                   #:1130
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 154 of 169 Page ID
                                   #:1131
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 155 of 169 Page ID
                                   #:1132
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 156 of 169 Page ID
                                   #:1133
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 157 of 169 Page ID
                                   #:1134
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 158 of 169 Page ID
                                   #:1135
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 159 of 169 Page ID
                                   #:1136
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 160 of 169 Page ID
                                   #:1137
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 161 of 169 Page ID
                                   #:1138
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 162 of 169 Page ID
                                   #:1139
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 163 of 169 Page ID
                                   #:1140
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 164 of 169 Page ID
                                   #:1141
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 165 of 169 Page ID
                                   #:1142
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 166 of 169 Page ID
                                   #:1143
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 167 of 169 Page ID
                                   #:1144
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 168 of 169 Page ID
                                   #:1145
Case 5:17-cv-02545-AB-SP Document 90-3 Filed 10/04/19 Page 169 of 169 Page ID
                                   #:1146
